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Plaintiff, United States


                     THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA
__________________________________________
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
                                           )
                        Plaintiff,         )  CIVIL ACTION NO.
                                           )
v.                                         )
                                           )
TRUDY E. TUSH,                             )  COMPLAINT
                                           )
                                           )
                        Defendant.         )
__________________________________________)

                                          COMPLAINT

       The United States of America, by authority of the Attorney General of the United States

and through the undersigned attorneys, acting at the request of the Administrator of the United

States Environmental Protection Agency (“EPA”), files this Complaint and alleges as follows:

                                     NATURE OF ACTION

       1.      The United States brings this civil action for injunctive relief and civil penalties

under the Safe Drinking Water Act (the “SDWA”), 42 U.S.C. § 300g-3(b), against Defendant

Trudy E. Tush for violating the SDWA, 42 U.S.C. § 300g-1, and the National Primary Drinking

Water Regulations promulgated thereunder at 40 C.F.R. Part 141, and for failing to comply with

an EPA Administrative Order issued under the SDWA, 42 U.S.C. § 300g-3(g), at the Estell




Complaint United States. v. Trudy Tush Page 1
        Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 1 of 22
Subdivision, Lot 2 water system in Anchorage, Alaska (“the System”). For the past decade,

these ongoing violations have endangered residents to whom Defendant has supplied water.

                            JURISDICTION, VENUE, AND NOTICE

        2.       This Court has jurisdiction over the subject matter of this action pursuant to

Section 1414(b) of the SDWA, 42 U.S.C. § 300g-3(b), and under 28 U.S.C. §§ 1331, 1345, 1355

and 1367(a). The Court has personal jurisdiction over the Parties.

        3.       Venue is proper in this judicial District pursuant to 28 U.S.C. §§ 1391(b) and

1395 because Defendant and the System at which the violations are occurring are located within

this District.

                                              PARTIES

        4.       The United States Department of Justice has authority to bring this action on

behalf of the Administrator of EPA (“Administrator”) under 28 U.S.C. §§ 516 and 519.

        5.       Plaintiff, United States of America, is acting upon a referral for formal

enforcement from the State of Alaska, pursuant to the SDWA, 42 U.S.C. § 300g-3(b)(2)(B).

        6.       Defendant, Trudy E. Tush (“Defendant”), is an individual who owns an

apartment/residential complex located at 1117 Chugach Way, Anchorage, Alaska 99503, and

who resides within the District of Alaska.

        7.       Defendant is a “person” as defined in the SDWA, 42 U.S.C. § 300f (12), and its

accompanying regulations. 40 C.F.R. § 141.2.




Complaint United States. v. Trudy Tush Page 2
        Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 2 of 22
                   STATUTORY AND REGULATORY BACKGROUND

  A.    The Safe Drinking Water Act and Federal and Alaska Regulatory Requirements
                                 Promulgated Thereunder

       8.      Pursuant to the SDWA, 42 U.S.C. § 300g-1, EPA has promulgated National

Primary Drinking Water regulations (“SDWA Regulations”) at 40 C.F.R. Part 141 to establish

contaminant limitations, monitoring requirements, reporting requirements, public notification

requirements, and other requirements for regulated drinking water systems.

       9.      The SDWA and SDWA Regulations apply to all public water systems, unless

exempted under the SDWA. The SDWA and SDWA Regulations define the term “public water

system” as “a system for the provision to the public of water for human consumption through

pipes or other constructed conveyances, if such system has at least fifteen service connections or

regularly serves at least twenty-five individuals.” 42 U.S.C. § 300f (4); 40 C.F.R. § 141.2.

       10.     Under the SDWA and SDWA Regulations, EPA may approve a State to have

primary enforcement responsibility for public water systems. 42 U.S.C. § 300g-2.

       11.     EPA has approved the State of Alaska, acting through the Alaska Department of

Environmental Conservation (“ADEC”), to have primary enforcement responsibility for the

public water systems within its borders. 43 Fed. Reg. 37,488 (Aug. 23, 1978).

       12.     The State of Alaska has promulgated regulations to implement its approved

program under the SDWA (“Alaska Drinking Water Regulations”) which are codified at

18 AAC 80 and impose requirements on public water systems in the State of Alaska. Public

water systems in Alaska, as defined in the Alaska Drinking Water Regulations, are similar to

those defined in the SDWA Regulations. See 40 C.F.R. § 141.2; 18 AAC 80.1990 (111).

       13.     The SDWA Regulations and Alaska Drinking Water Regulations impose various

requirements on owners and operators of “community water systems,” which are also referred to



Complaint United States. v. Trudy Tush Page 3
        Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 3 of 22
as “suppliers of water,” defined as “any person who owns or operates a public water system.”

42 U.S.C. § 300f(5); 40 C.F.R. § 141.2; 18 AAC 80.010.

       14.     The term “community water system” is defined as “a public water system that—

(A) serves at least 15 service connections used by year-round residents of the area served by the

system; or (B) regularly serves at least 25 year-round residents.” 42 U.S.C. § 300f (15);

40 C.F.R. § 141.2; 18 AAC 80.1990 (21).

       15.     The SDWA Regulations and Alaska Drinking Water Regulations establish a

maximum contaminant level (“MCL”) for each contaminant required to be monitored. At all

times relevant herein, the MCL for arsenic under both sets of regulations is 10 micrograms/liter

(μ/L) or .010 milligrams/liter (mg/L). 40 C.F.R. § 141.62(b); 18 AAC 80.010(a)(10)(B)

(incorporating by reference 40 C.F.R. § 141.62(b)).

       16.     Both the SDWA and the Alaska Drinking Water Regulations provide that

“[s]ystems [are] out of compliance with the maximum contaminant levels for . . . arsenic . . . if

the level of a contaminant is greater than the MCL.” 40 C.F.R. § 141.23(i)(2); 18 AAC

80.010(a)(6)(C) (incorporating 40 C.F.R. § 141.23 by reference).

       17.     Subject to limited variances or exemptions not relevant to this Complaint, the

Alaska Drinking Water Regulations further provide that an owner or operator of a public water

system “may not cause or allow the use of water from that system for human consumption if the

water contains . . . a contaminant in a concentration that exceeds a primary maximum

contaminant level.” 18 AAC 80.300(a). For inorganic contaminants, the primary MCLs are the

same as the MCLs set forth in 40 C.F.R. § 141.62(b) and 18 AAC 80.010(a)(10)(B), which for

arsenic is 10 μ /L or .010 mg/L.




Complaint United States. v. Trudy Tush Page 4
        Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 4 of 22
       18.    Under the SDWA and Alaska Drinking Water Regulations, owners and operators

of community water systems must conduct monitoring of the water provided by their systems for

various contaminants at various intervals. The monitoring requirements relevant to this

Complaint include:

              a.      Monitoring for various inorganic contaminants including nitrates on an

annual basis and arsenic once per three-year compliance period. 40 C.F.R. §§ 141.2,

141.23(d)(1) & (c)(1); 18 AAC 80.010(a)(6)(C) (incorporating 40 C.F.R. § 141.23 by reference).

Quarterly monitoring requirements are triggered for arsenic when any monitoring sample result

exceeds the arsenic MCL. 40 C.F.R. § 141.23(c)(7); 18 AAC 80.010(a)(6)(C) (incorporating by

reference 40 C.F.R. § 141.23).

              b.      Monitoring for synthetic organic chemicals (“SOCs”) during four

consecutive quarters per three-year compliance period. 40 C.F.R. § 141.24(h)(4); 18 AAC

80.010(a)(6)(D) (incorporating 40 C.F.R. § 141.24 by reference); 18 AAC 80.320.

              c.      Monitoring for fecal coliform on a monthly basis for systems that serve

less than 1000 people. 40 C.F.R. § 141.21(a)(1) & (2); 18 AAC 80.010 (a)(6)(A) (incorporating

40 C.F.R. § 141.21 by reference); 18 AAC 80.405 (a)(2)(C).

              d.      Monitoring for Volatile Organic Compounds (“VOCs”) every three years.

40 C.F.R. § 141.24(f)(6); 18 AAC 80.010(a)(6)(D) (incorporating by reference 40 C.F.R.

§ 141.24(f)); and

              e.      Monitoring taps for lead and copper once every three years after three

consecutive years demonstrating compliance. 40 C.F.R. § 141.86(d)(4)(iii); 18 AAC

80.010(a)(12)(G) (incorporating by reference 40 C.F.R. § 141.86).




Complaint United States. v. Trudy Tush Page 5
        Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 5 of 22
       19.     The SDWA Regulations and Alaska Drinking Water Regulations require owners

or operators of community water systems to provide notice to consumers of violations of

requirements in applicable SDWA Regulations and Alaska Drinking Water Regulations,

including exceedance of an MCL, failure to monitor contaminants, and treatment requirements.

40 C.F.R. §§ 141.201(a) – 204; 18 AAC 80.010(a)(16) (incorporating by reference 40 C.F.R.

§§ 141.201–211); 18 AAC 80.1000. Public notice requirements are divided into three tiers, to

account for the seriousness of the violation and for any potential adverse health effects that may

be involved. Id. at 141.201(b).

       20.     Tier 2 public notice is required for owners and operators of public water systems

that violate arsenic MCLs. Tier 2 public notice must be given as soon as practical, but no later

than 30 days after the system learns of the violation. The public water system must repeat the

notice every three months as long as the violation or situation persists. 40 C.F.R. § 141.203; 18

AAC 80.010(a)(16).

       21.     Tier 3 public notice is required for owners and operators of public water systems

for monitoring violations where the primacy agency has not determined that a Tier 2 notice is

required. Public water systems must provide the public notice not later than one year after the

public water system learns of the violation or situation, and following initial notice, the public

water system must repeat the notice annually for as long as the violation persists. 40 C.F.R.

§ 141.204; 18 AAC 80.010(a)(16).

       22.     The SDWA Regulations and Alaska Drinking Water Regulations require owners

and operators of community water systems to provide annual notifications to consumers, known

as consumer confidence reports (“CCRs”), that provide required information concerning the

water delivered including information on the source of the water and information on detected




Complaint United States. v. Trudy Tush Page 6
        Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 6 of 22
 contaminants. 40 C.F.R. § 141.153; 18 AAC 80.010(a)(14)(A)–(C) (incorporating by reference

 40 C.F.R. § 141.151-153); 18 AAC 1040.

        23.     The Alaska Drinking Water Regulations require the owners and operators of a

 community water system to conduct a sanitary survey every three years that evaluates the source

 of water supply, pumps and pumping facilities, treatment, distribution systems, laboratory

 facilities, and management and operator qualifications in compliance with relevant policies and

 guidances. 18 AAC 80.430; 18 AAC 80.1990(128)(A).

B.   SDWA and Alaska Statutory Enforcement Provisions

        24.     The SDWA authorizes the Administrator to commence a civil action seeking to

 require compliance with any applicable requirement. 42 U.S.C. § 300g-3(b)(2)(B).

        25.     The SDWA authorizes the Administrator to issue an order to require compliance

 with any applicable requirement in any case in which the Administrator is authorized to bring a

 civil action. 42 U.S.C. § 300g-3(g)(1).

        26.     The State of Alaska has primary enforcement responsibility under the SDWA,

 pursuant to 40 C.F.R. § 142, Subpart B. Pursuant to 18 AAC 80.1200, ADEC “may assess a

 penalty against an entity that violates or causes or permits to be violated a term or condition of

 this chapter [18 AAC 80], or a term or condition of an order…issued under this chapter.” Before

 assessing an administrative penalty, ADEC must provide the entity with a notice of violation

 (“NOV”). 18 AAC 80.1210.

        27.     In states with primary enforcement responsibility (primacy states), the United

 States may bring a civil action “to require compliance with any applicable requirement,” and

 “with an order issued under subsection (g) of this section,” if “requested by the agency of such




 Complaint United States. v. Trudy Tush Page 7
         Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 7 of 22
State which has jurisdiction over compliance with public water systems in the State with national

primary drinking water regulations or State drinking water regulations.” 42 U.S.C. § 300g-3.

       28.     The SDWA defines “applicable requirement” as (1) a requirement laid out in the

statute itself; (2) a regulation promulgated pursuant to the SDWA (the SDWA Regulations); (3) a

schedule or requirement imposed pursuant to the SDWA; or (4) a requirement of a State program

in a SDWA primacy state. 42 U.S.C. § 300g-3(i).

       29.     The SDWA, 42 U.S.C. § 300g-3(b), authorizes the United States to seek civil

penalties against any person who violates any SDWA Regulation and/or Alaska Drinking Water

Regulations, or who violates an order issued by EPA under the SDWA, 42 U.S.C. § 300g-

3(g)(1), of up to $37,500 per day of violation for each violation occurring after January 12, 2009,

through November 2, 2015, and up to $55,907 per day of violation for each violation occurring

after November 2, 2015. See 42 U.S.C. §§ 300g-3(b), 3(g)(3)(A), as modified by the Federal

Civil Penalties Inflation Adjustment Act of 1990 (28 U.S.C. § 2461 , as amended by the Debt

Collection Improvement Act of 1996 (31 U.S.C. § 3701); 61 Fed. Reg. 69,360 (Dec. 31, 1996);

69 Fed. Reg. 7121 (Feb. 13, 2004); and 73 Fed. Reg. 75,340–46 (Dec. 11, 2008), codified at

40 C.F.R. Part 19.4.

                                 GENERAL ALLEGATIONS

       30.     Starting on or before 2002 and continuing to the present, Defendant has owned

and/or operated the System, which is a groundwater well located at 1117 Chugach Way,

Anchorage, Alaska 99503, and operates under ADEC public water system identification number

AK22126902.




Complaint United States. v. Trudy Tush Page 8
        Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 8 of 22
       31.    At all times relevant to this Complaint, the System has provided drinking water to

approximately 40 year-round residents of a multiple-building apartment complex located at the

same address as the System.

       32.    At all times relevant to this Complaint, the System has been a “public water

system” and a “community water system” as defined in the SDWA and applicable SDWA

Regulations, 42 U.S.C. § 300f(4) and (16), and 40 C.F.R. § 141.2; 18 AAC 80.1990 (21).

       33.    As the owner and/or operator of the System, Defendant is a “supplier of water” as

defined in the SDWA, 42 U.S.C. § 300f(12), and 40 C.F.R. § 141.2; 18 AAC 80.010

(incorporating by reference federal SDWA regulatory definition of “supplier of water”).

       34.    At all times relevant to this Complaint, Defendant, as a supplier of water and the

owner and operator of a public water system and a community water system, has been subject to

the requirements set forth in the SDWA, 42 U.S.C. § 300g et seq., the SDWA Regulations

promulgated thereunder at 40 C.F.R. Part 141 and, because Alaska is a SDWA primacy state, the

Alaska Drinking Water Regulations. 40 C.F.R. § 141.1; 18 AAC 80.005(b).

       35.    During the time period relevant to this Complaint, Defendant sampled the

System’s drinking water for arsenic concentrations on the following dates, with the

accompanying results:

              a.        On December 30, 2009, 16 μg/L or .016 mg/L;

              b.        On September 20, 2012, 15.7 μg/L or .0157 mg/L; and

              c.        On February 27, 2014, 14.8 μg/L or .0148 mg/L.

       36.    During the time period relevant to this Complaint, Defendant sampled for nitrates

one time, on February 27, 2014.




Complaint United States. v. Trudy Tush Page 9
        Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 9 of 22
       37.     During the time period relevant to this Complaint, Defendant last sampled for

SOCs on August 7, 2003.

       38.     During the time period relevant to this Complaint, Defendant sampled for

coliform bacteria in January through March 2015; January, February, June, July, August,

November, and December 2014; and February 2013.

       39.     During the time period relevant to this Complaint, Defendant last sampled for

VOCs on October 3, 2012.

       40.     During the time period relevant to this Complaint, Defendant last sampled for

lead and copper on January 31, 2014.

       41.     During the time period relevant to this Complaint, Defendant last conducted a

sanitary survey on May 12, 2009.

       42.     On August 9, 2017, in anticipation of this litigation and following a protracted

period during which Defendant did not sample the System’s drinking water for arsenic or other

contaminants, EPA performed limited sampling at the System after providing notice to, and

obtaining the consent of, Defendant and Defendant’s appointed on-site representatives.

       43.     EPA collected water samples from a spigot near the System’s wellhead

(“Wellhead”); from the faucet in an apartment abutting the unit containing the System’s

wellhead (“Apartment 1”); and from the faucet in an apartment located in a nearby building

served by the System (“Apartment 2”).

       44.     EPA’s Region 10 Laboratory, located in Port Orchard, Washington, tested the

samples taken on August 9, 2017, for concentrations of arsenic, with the following results:

               a.     Samples from the Wellhead contained arsenic concentrations of 16.5 μg/L
                      or .0165 mg/L, and 16.6 μg/L or .0166 mg/L;

               b.     Samples from Apartment 1 contained arsenic concentrations of 16.4 μg/L
                      or .0164 mg/L, and 16.3 μg/L or .0163 mg/L;


Complaint United States. v. Trudy Tush Page 10
       Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 10 of 22
               c.      Samples from Apartment 2 contained arsenic concentrations of 16.4 μg/L
                       or .0164 mg/L.

       45.     ADEC’s Alaska State Environmental Health Laboratory, located in Anchorage,

Alaska, tested the samples taken on August 9, 2017, for concentrations of total coliform and

ecoli. Tests resulted in an absence of both analytes.

       46.     Pursuant to 18 AAC 80.1210, in April 2009, ADEC issued a Notice of Violation

(“NOV”) to Defendant, citing violations at the System for failing to submit Consumer

Confidence Reports (“CCRs”) for 2005, 2006, and 2007, as required by 18 AAC 80.1040.

       47.     In September 2009, pursuant to 18 AAC 80.1200, ADEC assessed an

administrative penalty against Defendant for the violations outlined in the April 2009 NOV.

Defendant thereafter failed to return to compliance with the applicable requirements.

       48.     On August 24, 2011, ADEC issued a second NOV to Defendant, citing violations

at the System including failure to apply for an arsenic exemption following an arsenic MCL

exceedance; failure to send Tier 2 Public Notice to all customers; failure to submit sample results

for VOCs; failure to collect and submit monthly coliform bacteria samples; and failure to submit

CCRs, as required by the Alaska Drinking Water Regulations, 18 AAC 80.

       49.     On April 6, 2012, ADEC assessed a second administrative penalty against

Defendant for the violations outlined in the August 24, 2011 NOV and for Defendant’s failure to

meet the applicable deadlines listed therein.

       50.     On April 19, 2014, ADEC requested that EPA initiate enforcement proceedings

against Defendant for violations of the SDWA, the SDWA Regulations, and the Alaska Drinking

Water Regulations. In the request, ADEC described Defendant as “uncooperative and

nonresponsive.”




Complaint United States. v. Trudy Tush Page 11
       Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 11 of 22
       51.      Following the ADEC request for EPA enforcement described in the foregoing

Paragraph, EPA attempted, without success, to contact Defendant by telephone and email.

       52.      On August 5, 2014, EPA issued an Administrative Order citing a number of

violations of the SDWA Regulations, including failures to:

                a.     Submit CCRs from 2009 through 2013;

                b.     Monitor total coliform bacteria during March, April, and May of 2014;

                c.     Monitor for arsenic in 2013;

                d.     Comply with the arsenic MCL since the December 31, 2009 compliance
                       period; and

                e.     Provide public notice of the arsenic MCL violations and monitoring
                       requirements.

       53.      The Administrative Order described in the foregoing Paragraph required

Defendant to:

                a.     Complete and distribute CCRs for 2009 to 2013;

                b.     Monitor for total coliform bacteria monthly;

                c.     Provide EPA and ADEC with a compliance plan and schedule for
                       returning to compliance with the arsenic MCL by July 31, 2016; and

                d.     Issue public notice to customers detailing the above violations and
                       certifying to EPA and ADEC that it had done so.

       54.      Defendant did not comply with the EPA Administrative Order described in the

foregoing Paragraphs. EPA attempted to notify Defendant of her noncompliance by telephone,

voicemail, and email, but Defendant failed to respond.

       55.      On January 20, 2015, EPA issued an Administrative Complaint against

Defendant. The Administrative Complaint charged Defendant with violating the requirements of

the Administrative Order and proposed a civil administrative penalty of $34,400.




Complaint United States. v. Trudy Tush Page 12
       Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 12 of 22
       56.     After repeated attempts at service, EPA served the Administrative Complaint on

Defendant through a service process company on May 1, 2015. Defendant did not thereafter file

an answer or otherwise respond to the Administrative Complaint.

       57.     On December 19, 2016, EPA filed a Motion for Default before the Presiding

Officer, called the Regional Judicial Officer. Defendant did not thereafter respond to the Motion

for Default.

       58.     On March 2, 2017, the Regional Judicial Officer issued an Order to Show Cause

directing Defendant to submit an answer to the Administrative Complaint within 30 days of that

Order. Defendant did not thereafter submit an answer. No judgment has been issued and none is

expected to be forthcoming pending the resolution of the instant action.

                                FIRST CLAIM FOR RELIEF

               (Failure to Comply with Maximum Contaminant Level, Arsenic)

       59.     Paragraphs 1 through 58 are re-alleged and incorporated herein.

       60.     At all times relevant to this Complaint, the Alaska Drinking Water Regulations

require that an owner and/or operator may not cause or allow the use of water for human

consumption if the water contains a contaminant in a concentration that exceeds a primary MCL.

18 AAC 80.300(a).

       61.     At all times relevant to this Complaint, the MCL for arsenic has been above .010

mg/L. 40 C.F.R. § 141.62(b); 18 AAC 80.010(a)(10)(B).

       62.     From at least December 30, 2009, until at least August 9, 2017, Defendant

supplied water to the System’s users that exceeded the MCL for arsenic in violation of 40 C.F.R.

§ 141.62(b) and 18 AAC 80.010(a)(10)(B).




Complaint United States. v. Trudy Tush Page 13
       Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 13 of 22
       63.     Pursuant to the SDWA, 42 U.S.C. § 300g-3(b), as modified, Defendant is liable to

the United States for injunctive relief and civil penalties for the violations set forth in Paragraphs

60 - 62 above, occurring on or after five years prior to the date of filing, in an amount up to

$37,500 per day of violation for each violation occurring after January 12, 2009, through

November 2, 2015, and civil penalties of up to $55,907 per day of violation for each violation

occurring after November 2, 2015.

                                SECOND CLAIM FOR RELIEF

                                  (Failure to Monitor, Arsenic)

       64.     Paragraphs 1 through 58 are re-alleged and incorporated herein.

       65.     From at least December 30, 2009, when sampling of the System’s water detected

arsenic above the MCL, through the present, SDWA Regulations and Alaska Drinking Water

Regulations have required Defendant to monitor the System for arsenic on a quarterly basis.

40 C.F.R. § 141.23(c)(7); 18 AAC 80.010(a)(6)(C).

       66.     From December 30, 2009, to the present, Defendant failed to monitor the System

for arsenic in every quarter except the quarter containing September 20, 2012, and the quarter

containing February 27, 2014, in violation of 40 C.F.R. § 141.23(c)(7) and 18 AAC

80.010(a)(6)(C).

       67.     Pursuant to the SDWA, 42 U.S.C. § 300g-3(b), as modified, Defendant is liable to

the United States for injunctive relief and civil penalties for the violations set forth in Paragraphs

65 - 66 above, occurring on or after five years prior to the date of filing, in an amount up to

$37,500 per day of violation for each violation occurring after January 12, 2009, through




Complaint United States. v. Trudy Tush Page 14
       Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 14 of 22
November 2, 2015, and civil penalties of up to $55,907 per day of violation for each violation

occurring after November 2, 2015.

                                 THIRD CLAIM FOR RELIEF

                                  (Failure to Monitor, Nitrates)

       68.     Paragraphs 1 through 58 are re-alleged and incorporated herein.

       69.     At all times relevant to this Complaint, the SWDA Regulations and the Alaska

Drinking Water Regulations required Defendant to monitor the System for nitrates on an annual

basis. 40 C.F.R. § 141.23(d)(1); 18 AAC 80.010(a)(6)(C).

       70.     In at least 2013, 2015, 2016, and 2017, Defendant failed to monitor the System

for nitrates in violation of 40 C.F.R. § 141.23(d)(1) and 18 AAC 80.010(a)(6)(C).

       71.     Pursuant to the SDWA, 42 U.S.C. § 300g-3(b), as modified, Defendant is liable to

the United States for injunctive relief and civil penalties for the violations set forth in Paragraphs

69 - 70 above, in an amount up to $37,500 per day of violation for each violation occurring

after January 12, 2009, through November 2, 2015, and civil penalties of up to $55,907 per day

of violation for each violation occurring after November 2, 2015.

                                FOURTH CLAIM FOR RELIEF

                                  (Failure to Monitor, Coliform)

       72.     Paragraphs 1 through 58 are re-alleged and incorporated herein.

       73.     At all times relevant to this Complaint, the SDWA Regulations and Alaska

Drinking Water Regulations required Defendant to monitor the System for coliform bacteria on a

monthly basis. 40 C.F.R. § 141.21(a)(1) & (2); 18 AAC 80.405 (a)(2)(C).




Complaint United States. v. Trudy Tush Page 15
       Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 15 of 22
       74.     In 49 of the past 60 months, Defendant failed to monitor the System for coliform

bacteria in violation of 40 C.F.R. § 141.21(a)(1) & (2) and 18 AAC 80.405 (a)(2)(C).

       75.     Pursuant to the SDWA, 42 U.S.C. § 300g-3(b), as modified, Defendant is liable to

the United States for injunctive relief and civil penalties for the violations set forth in Paragraphs

73 - 74 above, in an amount up to $37,500 per day of violation for each violation occurring after

January 12, 2009, through November 2, 2015, and civil penalties of up to $55,907 per day of

violation for each violation occurring after November 2, 2015.

                                  FIFTH CLAIM FOR RELIEF

                      (Failure to Monitor, Volatile Organic Compounds)

       76.     Paragraphs 1 through 58 are re-alleged and incorporated herein.

       77.     At all times relevant to this Complaint, the SWDA Regulations and Alaska

Drinking Water Regulations required Defendant to monitor the System for a range of VOCs

every three years. 40 C.F.R. § 141.24(f)(6); 18 AAC 80.010(a)(6)(D).

       78.     Since at least October 3, 2012, Defendant has not monitored the System for VOCs

annually in violation of 40 C.F.R. § 141.24(f)(6) and 18 AAC 80.010(a)(6)(D).

       79.     Pursuant to the SDWA, 42 U.S.C. § 300g-3(b), as modified, Defendant is liable to

the United States for injunctive relief and civil penalties for the violations set forth in Paragraphs

77 - 78 above, occurring on or after five years prior to the date of filing, in an amount up to

$37,500 per day of violation for each violation occurring after January 12, 2009, through

November 2, 2015, and civil penalties of up to $55,907 per day of violation for each violation

occurring after November 2, 2015.




Complaint United States. v. Trudy Tush Page 16
       Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 16 of 22
                                  SIXTH CLAIM FOR RELIEF

                     (Failure to Monitor, Synthetic Organic Compounds)

       80.     Paragraphs 1 through 58 are re-alleged and incorporated herein.

       81.     At all times relevant to this Complaint, the SDWA Regulations and Alaska

Drinking Water Regulations required Defendant to monitor the System for a range of SOCs on a

quarterly basis. 40 C.F.R. § 141.24(h)(4); 18 AAC 80.010(a)(6)(D).

       82.     Since at least August 7, 2003, Defendant has not monitored the System for SOCs

on a quarterly basis in violation of 40 C.F.R. § 141.24(h)(4) and 18 AAC 80.010(a)(6)(D).

       83.     Pursuant to the SDWA, 42 U.S.C. § 300g-3(b), as modified, Defendant is liable to

the United States for injunctive relief and civil penalties for the violations set forth in Paragraphs

81 - 82 above, occurring on or after five years prior to the date of filing, in an amount up to

$37,500 per day of violation for each violation occurring after January 12, 2009, through

November 2, 2015, and civil penalties of up to $55,907 per day of violation for each violation

occurring after November 2, 2015.

                               SEVENTH CLAIM FOR RELIEF

                             (Failure to Monitor, Lead and Copper)

       84.     Paragraphs 1 through 58 are re-alleged and incorporated herein.

       85.     At all times relevant to this Complaint, the SDWA Regulations and Alaska

Drinking Water Regulations required Defendant to monitor the System for lead and copper every

three years. 40 C.F.R. § 141.86(d)(4)(iii); 18 AAC 80.010(a)(12)(G).




Complaint United States. v. Trudy Tush Page 17
       Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 17 of 22
       86.     Since at least January 31, 2014, Defendant has not monitored the System for lead

and copper every three years in violation of 40 C.F.R. § 141.86(d)(4)(iii) and 18 AAC

80.010(a)(12)(G).

       87.     Pursuant to the SDWA, 42 U.S.C. § 300g-3(b), as modified, Defendant is liable to

the United States for injunctive relief and civil penalties for the violations set forth in Paragraphs

85 - 86 above, in an amount up to $37,500 per day of violation for each violation occurring after

January 12, 2009, through November 2, 2015, and civil penalties of up to $55,907 per day of

violation for each violation occurring after November 2, 2015.

                                EIGHTH CLAIM FOR RELIEF

                      (Failure to Conduct and Submit a Sanitary Survey)

       88.     Paragraphs 1 through 58 are re-alleged and incorporated herein.

       89.     At all times relevant to this Complaint, the Alaska Drinking Water Regulations

required Defendant to conduct and submit to ADEC a sanitary survey of the System once every

three years. 18 AAC 80.430; 18 AAC 80.1990(128)(A).

       90.     Beginning on or before May 12, 2009, Defendant did not conduct, or cause to be

conducted, a sanitary survey of the System every three years in violation of 18 AAC 80.430 and

18 AAC 80.1990(128)(A).

       91.     Pursuant to the SDWA, 42 U.S.C. § 300g-3(b), as modified, Defendant is liable to

the United States for injunctive relief and civil penalties for the violations set forth in Paragraphs

89 and 90 above, occurring on or after five years prior to the date of filing, in an amount up to

$37,500 per day of violation for each violation occurring after January 12, 2009, through




Complaint United States. v. Trudy Tush Page 18
       Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 18 of 22
November 2, 2015, and civil penalties of up to $55,907 per day of violation for each violation

occurring after November 2, 2015.

                                 NINTH CLAIM FOR RELIEF

                      (Failure to Submit Consumer Confidence Reports)

       92.     Paragraphs 1 through 58 are re-alleged and incorporated herein.

       93.     At all times relevant to this Complaint, the SDWA Regulations and Alaska

Drinking Water Regulations required Defendant to issue annual CCRs to persons served by the

System. 40 C.F.R. § 141.153; 18 AAC 80.010(a)(14)(A)–(C).

       94.     In at least 2013, 2014, 2015, 2016, and 2017 Defendant failed to issue annual

CCRs in violation of 40 C.F.R. § 141.153 and 18 AAC 80.010(a)(14)(A)–(C).

       95.     Pursuant to the SDWA, 42 U.S.C. § 300g-3(b), as modified, Defendant is liable to

the United States for injunctive relief and civil penalties for the violations set forth in Paragraphs

93 - 94 above, in an amount up to $37,500 per day of violation for each violation occurring after

January 12, 2009, through November 2, 2015, and civil penalties of up to $55,907 per day of

violation for each violation occurring after November 2, 2015.

                                 TENTH CLAIM FOR RELIEF

                            (Failure to Issue Required Public Notice)

       96.     Paragraphs 1 through 58 are re-alleged and incorporated herein.

       97.     At all times relevant to this Complaint, the SDWA Regulations and Alaska

Drinking Water Regulations required Defendant to issue Tier 2 public notice for arsenic MCL

violations, and Tier 3 public notice for all other monitoring violations at the System. 40 C.F.R.

§§ 141.203 and 141.204.




Complaint United States. v. Trudy Tush Page 19
       Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 19 of 22
        98.     At all times relevant to this Complaint, Defendant did not issue public notice of

any of the System’s above-stated violations of applicable requirements (Paragraphs 35 – 40

above) in violation of 40 C.F.R. §§ 141.201(a) – 204; 18 AAC 80.010(a)(16).

        99.     Pursuant to the SDWA, 42 U.S.C. § 300g-3(b), as modified, Defendant is liable to

the United States for injunctive relief and civil penalties for the violations set forth in Paragraphs

97 - 98 above, occurring on or after five years prior to the date of filing, in an amount up to

$37,500 per day of violation for each violation occurring after January 12, 2009, through

November 2, 2015, and civil penalties of up to $55,907 per day of violation for each violation

occurring after November 2, 2015.

                               ELEVENTH CLAIM FOR RELIEF

                      (Failure to Comply with EPA Administrative Order)

        100.    Paragraphs 1 through 58 are re-alleged and incorporated herein.

        101.    The SDWA allows the EPA to issue an Administrative Order to require

compliance with applicable requirements in any case in which the EPA is authorized to bring a

civil action under 42 U.S.C. § 300g-3. 42 U.S.C. § 300g-3(g).

        102.    As set forth in Paragraphs 52-53 above, the EPA issued an Administrative Order

on August 5, 2014, requiring compliance with the applicable requirements.

        103.    At all times after August 5, 2014, Defendant failed to comply with the

Administrative Order, in violation of 42 U.S.C. § 300g-3(g)(3)(A).

        104.    Pursuant to the SDWA, 42 U.S.C. § 300g-3(g)(3)(A), as modified, Defendant is

liable to the United States for injunctive relief and civil penalties for the violations set forth in

Paragraphs 101 - 103 above, occurring on or after five years prior to the date of filing, in an

amount up to $37,500 per day of violation for each violation occurring after January 12, 2009,




Complaint United States. v. Trudy Tush Page 20
       Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 20 of 22
through November 2, 2015, and civil penalties of up to $37,500 per day of violation for each

violation occurring after November 2, 2015.

                                        PRAYER FOR RELIEF

Wherefore, Plaintiff respectfully requests the Court:

               a.      Pursuant to Section 1414(b) of the SDWA, 42 U.S.C. § 300g-3(b), require

Defendant to undertake all necessary actions to comply with the requirements of the SDWA,

federal SDWA regulations, Alaska Statutes Title 46 and Alaska Drinking Water Regulations;

               b.      Pursuant to Section 1414(b) of the SDWA, 42 U.S.C. § 300g-3(b) and

Section 1414(g)(3) of the SDWA, 42 U.S.C. § 300g-3(g)(3), assess appropriate civil penalties

against Defendant, up to the statutory maximum per day per violation amounts as set forth

above; and

               c.      Award such other and further relief as the Court may deem just, proper,

and protective of public health.

FOR THE UNITED STATES OF AMERICA:


                                              ____/s/___________________________________
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                                              United States Department of Justice

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Complaint United States. v. Trudy Tush Page 21
       Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 21 of 22
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Complaint United States. v. Trudy Tush Page 22
       Case 3:18-cv-00101-JWS Document 1 Filed 04/23/18 Page 22 of 22
